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               2
                                                    UNITED STATES DISTRICT COURT
               3
                                                 NORTHERN DISTRICT OF CALIFORNIA
               4

               5
                   MATTHEW LEBOEUF, et al.
               6                                                            Case No. C 5-19CV02543

               7                                                            CONSENT OR DECLINATION
                                            Plaintiff(s)                    TO MAGISTRATE JUDGE
               8             V.
                                                                            JURISDICTION
                   NVIDIA CORPORATION
               9

              10                            Defendant(s).

              11   INSI'RUCTIONS: Please indicate below by checking one of the two boxes whether you (if you are the party)
                   or the party you represent (if you are an attorney in the case) choose(s) to consent or decline magistrate judge
              12   jurisdiction in this matter. Sign this form below your selection .
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      .E               0 Consent to Magistrate Judge Jurisdiction
-~::: a 14
      '-
                          In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily consent to have a
"'     0
i:5
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      . i:
              15   United States magistrate judge conduct all further proceedings in this case, including trial and
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~ ~
Vl            16
                   entry of final judgment. I understand that appeal from the judgment shall be taken directly to the
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                   United States Court of Appeals for the Ninth Circuit.

                           OR
              18
                       •   Decline Magistrate Judge Jurisdiction
              19
                           In accordance with the provisions of 28 U.S.C. § 636(c), I decline to have a United States
              20
                   magistrate judge conduct all further proceedings in this case and I hereby request that this case
              21   be reassigned to a United States district judge.

              22
                   DATE:    June 27, 2019                               NAME: Laurence F. Pulgram
              23
                                                                COUNSEL FOR
              24                                                (OR "PRO SE"):   Defendant NVIDIA Corporation

              25
                                                                                 Isl Laurence F. Pulgram
              26
                                                                                                   Signature
              27

              28
